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                       UNITED STATES DISTRICT COURT FOR THE
                            DISTRICT OF NEW HAMPSHIRE



United States of America

              v.                                              Criminal No. 09-cr-187-02-JL

Lynette Maryea



                                            ORDER


       Pursuant to 18 U.S.C. § 4241, the court sua sponte orders that the defendant, Lynette Maryea,

undergo a medical and psychological evaluation to determine her competency to stand trial,

including an assessment of whether, and the extent to which her physical pain impacts that

competency. Dr. Albert Drukteinis is appointed to conduct the evaluation. A report shall be filed

with the court and copies shall be provided to the government and counsel for the defendant in

accordance with the provisions of 18 U.S.C. § 4247 (b) and (c).

       SO ORDERED.




September 13, 2010                               _________________________________
                                                 Joseph N. Laplante
                                                 United States District Judge


cc:    Jen Davis, AUSA, Don Feith, AUSA
       David Bownes, Esq.
